Case 1:22-cr-O0050-LEW Document 32 Filed 04/15/22 Pagelof2 PagelD #: 67

UNITED STATES DISTRICT COURT ;; -

DISTRICT OF MAINE DISTRICT OF sos
UNITED STATES OF AMERICA ) REC
) IN? Bhs te py pm
Vv. Criminal No, leaer-00050-L¢y,) |
XAVIER PELKEY ) _
) hs; | CLERC
INDICTMENT
The grand jury charges that:
COUNT ONE

(Possession of Unregistered Destructive Devices)
On about February 11, 2022, in the District of Maine, the defendant,
XAVIER PELKEY,
knowingly possessed firearms, specifically destructive devices, which were not registered to him
in the National Firearms Registration and Transfer Record.

In violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.

FORFEITURE ALLEGATION

1. The allegations contained in Count One of this Indictment are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 26, United
States Code, Section 5872(a) and Title 28, United States Code, Section 2461(c).

Ds Upon conviction of the offense in violation of Title 26, United States Code,
Section 5861(d) set forth in Count One of this Indictment, the defendant,

XAVIER PELKEY,

shall forfeit to the United States pursuant to Title 26, United States Code, Section 5872(a) and
Case 1:22-cr-O0050-LEW Document 32 Filed 04/15/22 Page2of2 PagelD#: 68

Title 28, United States Code, Section 2461(c), any firearms involved in the commission of the
offenses, including, but not limited to, three destructive devices seized from PELKEY’s

residence on about February 11, 2022.

3, If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
é. has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).

All pursuant to 26 U.S.C. § 5872(a) and 28 U.S.C. § 2461(c).

A TRUE BILL,

\20% Coe

Assistat U.S. Attorney \|

pate: A/C /2

\
